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                      UNITED STATES DISTRJCT COURT                                    U.S. DISTRICT COURT
                   EASTERN DISTRJCT OF MISSOURI                                     EASTERN DISTRICT OF MO
                                                                                            ST. LOUIS
                          EASTERN DIVISION
UNITED STATES OF AMERJCA,          )
                                   )
Plaintiff,                         )
                                                      )   ~~~~~~~~~~~~~~


v.
                                                      ~, 4:18CR342 RWS/SPM
JAMES GUCCIONE,                                       )
                                                      )
Defendant.                                            )
                                                      )
                                                      )
                                                      )

                                          INDICTMENT

                                 COUNTS I-IV (WIRE FRAUD)

      The Grand Jury charges that:

      Introduction

      1. Between on or about July 25, 2012 and continumg through on or about May 12, 2016

           (the "relevant time period"), Defendant James Guccione was a .resident of St. Louis

           Couµ.ty within the Eastern District of Missouri.

      2.    During the relevant time period, Defendant James Guccione was employed as the

           Director of Finance ofK.M., a business with its principal offices in St. Louis County

           within the Eastern District of Missouri (the "company" or the ''business").

      3. As Director of Finance, Defendant was entrusted with the authority to direct payments

           of the company for necessary expenses, to group items in batches for approval and

           payment and to categorize various payments on company records.




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 The Scheme

 4. At some point before July 25, 2012, the Defendant devised a scheme to defraud the

    company of money and other valuable property by means of false and fraudulent

    pretenses, representations and promises. Specifically, the Defendant falsely

    represented to the company that computer hardware and software Defendant had

    ordered for his own benefit was for company use when in truth and fact it was not as

    Defendant well knew. Defendant thereby caused payments of company funds to be

    made to company vendors by means of interstate wire communications to cover

    purchases ordered by Defendant for his own benefit.

 5. It was a part of the scheme that Defendant altered invoices for software and hardware

    intended for Defendant's personal use and benefit before submitting them for payment

    by the company.

 6. It was a further part of the scheme that Defend~nt deceived his co-workers at the

    company about the nature ,and intended use of software and hardware he was

    purchasing with company funds for his own use and benefit so that secondary approval

    for various financial transactions made in furtherance of the scheme could be obtained.

 7. It was a further part of the scheme that Defendant, during the relevant time period,

    caused direct fuiancial payments from company accounts to his personal financial

    account while no,ting the payment was to longstanding vendors of the company.

 8. It was a further part of the scheme that Defendant hid the company's payments for the

    aforementioned software and hardware in different accounts including
                                                                    '',
                                                                         those for "credit

    insurance" and "equipment maintenance" in a:iJ. attempt to avoid the detection of his

    scheme.

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        9. It was a further part of the scheme that Defendant often mixed legitimate purchases in

           with illegitimate purchases in a lot of expenses which were approved and funded all at

           once in an attempt to avoid the detection of his scheme.

        10. The stolen hardware included servers, computers, keyboards, tablets and other items

           not typically used by the company and which were never: inventoried
             '                                                       .         by the company.

           Presumably, Defendant took these items directly for his personal use or to resell.

        11. In all, Defendant defrauded the company of more than $200,000 through this scheme.

        The Offense Conduct

       12. Between.on or about July 25, 2012 and continuing through May 12, 2016 in St. Louis

           County within the Eastern District of Missouri and elsewhere,

                                         JAMES GUCCIONE,

the Defendant herein did knowingly and intentionally devise a scheme to· defraud and to obtain

money and valuable property from the company by means of false and fraudulent

representations, promises and pretenses and, in furtherance and execution thereof, did send and

cause to be sent the following interstate transfers of company funds from the State of Missouri

with each transfer constituting a separate count.

Count        Date                      Payee              Amount        Item Purchased

I            September 18, 2015        CDW                $3,277.82     MS VISUAL STUDIO PRO

II           September 30, 2015        CDW                $2,573.98     2 MS Surface Pro Tablets

III          December 3, 2015          CDW                $2,819.51     Microsoft SQL Server

IV           March 10, 2016            CDW                $1,366.19     Mac Book Pro 13.3"

       All in violation of Title 18, United States Code Section 1343.




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                                      COUNT V (MAIL FRAUD)

      13. The allegations contained in paragraphs 1 through 12 are hereby realleged and

            incorporated by reference.

      14. On or about February 28, 2014, in St. Louis County within the Eastern District of

            Missouri and elsewhere,

                                          JAMES GUCCIONE,

did knowingly and intentionally devise a scheme to defraud and to obtain money and valuable

property from the company by means of false and fraudulent representations, promises and
                                                                                                     I

pretenses and, in furtherance and execution thereof, did send and cause to be sent ai:id delivered

material through the United States Postal Service, to wit: a $724.99 payment from the company

to Staples for a Samsung Smart TV converted by Defendant for his personal use.

     In violation of Title 18, United States Code Section 1341.

                                  FORFEITURE ALLEGATION

       The Grand Jury further finds by probable cause that:

       1.        Pursuant to Title· 18, United States Code, Sections 98l(a) and Title 28, United

States Code, Section 246l(c), upon conviction of an offense in violation of Title 18, United States

Code, Section 1343 as set forth in Counts I through N, or Section 1341 as set forth in Count V,

the defendant shall forfeit to the United States of America any property, real or personal,

constituting or derived from any proceeds traceable to such violation(s).

       2.        Subject to forfeiture is a sum of money equal to the total value of any property,

real or personal, constituting or derived from any proceeds traceable to such violation(s).

       4.        If any of the property described above, as a result of any act or omission of the

defendant:

                                                   4
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                                        JAMES GUCCIONE,

did knowingly and intentionally devise a scheme to defraud and to obtain money and valuable

property from the company by means of false and fraudulent representations, promises and

pretenses and, in furtherance and execution thereof, did send and cause to be sent and delivered ·

material through the United States Postal Service, to wit: a $724.99 pa)_'lllent from the company

to Staples for a Samsung Smart TV converted by Defendant for his personal use.

     In violation of Title 18, United States Code Section 1341.

                                                     A TRUE BILL.



                                                     FOREPERSON
JEFFREY B. JENSEN
United States Attorney



Thomas C. Albus, #96250
Assistant United States Attorney
